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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

UNITED STATES OF AMERICA,                     :
                                              :
v.                                            : CASE NO.: 1:24-CR-35 (LAG) (ALS)
                                              :
SHERRONICA JACKSON, and                       :
ALAN BROWN,                                   :
                                              :
       Defendants.                            :
                                              :
                                         ORDER
       Before the Court is Defendant Alan Brown’s Unopposed Motion to Modify
Protective Order. (Doc. 48). Therein, Defendant, with the consent of the Government,
moves to modify the Protective Order (Doc. 37) to allow Defense Counsel to review
discovery with Defendant’s family.
       On August 14, 2024, Defendant was charged with one count of Conspiracy to
Commit Bank Fraud and four counts of Bank Fraud. (Doc. 1). On October 3, 2024, the
Government filed an Unopposed Motion for Protective Order, which the Court granted on
October 7, 2024. (Docs. 36–37). The Protective Order “limits the use and dissemination of
criminal discovery in this matter.” (Doc. 37 at 1). Most relevantly, it provides that “[t]he
Government’s discovery materials provided to the defense may only be shared with (1)
defense counsel, co-counsel, paralegals, investigators, litigation support personnel, and
secretarial staff working for defense counsel; (2) the Defendant; and (3) any retained
financial analysts or other such experts whose duties require such records.” (Doc. 37 at 1–
2). Defendant now moves to modify this provision of the Protective order to allow him to
review Discovery with Defendant’s family. (Doc. 48 at 3). Defendant represents that “at
an attorney client meeting . . . members of [Defendant] Brown’s family . . . raised concerns
. . . about [Defendant’s] intellectual capacity, or lack thereof, affecting his ability to
understand the subject of that meeting and also affecting his culpability[.]” (Id. at 2).
Defendant further represents that “Counsel requests [modification of] the Protective Order
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so that . . . [Defendant’s] family . . . can provide input for the defense of [Defendant]. (Id.
at 3).
         The Protective Order provides that “[t]he parties reserve the right to seek
modification of [the Protective Order] from the Court should the need arise[.]” (Doc. 37 at
2). Accordingly, as the Government consents to this modification and for good cause
shown, Defendant’s Motion (Doc. 48) is GRANTED. Counsel may review the criminal
discovery in this matter with Defendant Brown’s family. All remaining provisions of the
protective order remain in effect.

               SO ORDERED, this 1st day of April, 2025.

                                           /s/ Leslie A. Gardner
                                           LESLIE A. GARDNER, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT




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